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      AO 442 (Rev 01/09) Arrest Warrant



                                                         UNITED STATES DISTRICT COURT
                                                                                            for the

                                                                                 District   of Columbia


                             United States of America
                                               v.                                                     Case: 1:21-cr-00537
                         JASON BENJAMIN                  BLYTHE                                       Assigned To : Kelly, Timothy J.
                                                                                                      Assign. Date: 01/1312022
                                                                                                      Description: Superseding Indictment (8)
                                           De/endant
                                                                                                      Case Related to 21-cr-537 (TJK)
                                                                             ARREST WARRANT

      To:        Any authorized            law enforcement        officer


                 YOU ARE COMMANDED                           to arrest and bring before a United States magistrate judge without                       unnecessary delay
      (name o/person to be arrested)                JASON BENJAMIN           BL ¥THE
      who is accused of an offense or violation                   based on the following        document   filed with the court:


     o      Indictment                 m    Superseding      Indictment          o Information            o   Superseding       Information            0 Complaint
     o      Probation      Violation       Petition          o   Supervised    Release Violation      Petition          o Violation     Notice         0   Order of the Court

     This offense is briefly           described as follows:
        18 U.S.C. § 231 (a)(3), 2 (Civil Disorder);18 U.S.C. §§ 111 (a)(I) and (b), 2 (Assaulting, Resisting. or Impeding Certain
       Officers Using a Deadly or Dangerous Weapon and Inflicting Bodily Injury); 18 U.S.C. § 111 (a)(I) and (b), 2 (Assaulting.
       Resisting, or Impeding Certain Officers); 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A) (Entering and Remaining in a Restricted
       Building or Grounds with a Deadly or Dangerous Weapon); 18 U.S.C. §§ 1752(a)(2) and (b)(1 )(A) (Disorderly or Disruptive
       Conduct in a Restricted Building or Grounds with a Deadly or Dangerous Weapon); 18 U.S.C. §§ 1752(a)(4) and (b)(1 )(A),
       (b)(1 )(B). 2 (Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon and
       Resulting in Significant Bodily Injury); 40 U.S.C. § 5104(e)(2)(O),(Disorderty          Conduct in the Capitol Grounds or Buildings);
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                                                                                                                 -'".                    G. Michael Harvey
     Date:      0111_21_2_02_2             _
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     City and state:           Washington             D.C.                                                                  G. Michael Harvey
                                                                                                                            Printed name and   fIIle




                                                                                        Return

                This warrant was received on (date)                         f / I S /2..2       ,and the person was arrested on (date)                     1/2-'1/2.4.. _
     at (city and state)      _Ead_klJ:z/.JdJ...                 :r:.0
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                                                                ...              ._.
     Date:       I    I 2-7u/      2.. 2
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                                                                                                                        Arresting officer'S signature
